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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                               BUTTE DIVISION


 UNITED STATES OF AMERICA,                            CR 21–18–BU–DLC

                Plaintiff,

          vs.                                                ORDER

 ADRIAN GUTIERREZ and
 GERARDO GUTIERREZ,

                Defendants.


      Before the Court is United States’ Motion for Preliminary Order of

Forfeiture. (Doc. 71.) The Defendants have been adjudged guilty as charged in

the superseding information. As such, there is a factual basis and cause to issue an

order of forfeiture, pursuant to 21 U.S.C. § 853(a)(1) and (2).

      Accordingly, IT IS ORDERED the motion (Doc. 71) is GRANTED.

      IT IS FURTHER ORDERED that Adrian Gutierrez’s and Gerardo

Gutierrez’s interest in the following property is forfeited to the United States in

accordance with 21 U.S.C. § 853(a)(1) and (2):

      •         2008 Nissan Frontier, VIN 1N6AD07W48C435050; and

      •         2007 Chevy Silverado, VIN 2GCEK19J771578435

      IT IS FURTHER ORDERED that the United States Marshal’s Service, the

Federal Bureau of Investigation, and/or a designated sub-custodian, is directed to
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seize the property subject to forfeiture and further to make a return as provided by

law.

       IT IS FURTHER ORDERED that the United States shall provide written

notice to all third parties asserting a legal interest in any of the above-described

property and will post on an official government internet site (www.forfeiture.gov)

for at least 30 consecutive days as required by Rule G(4)(a)(iv)(C) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions, of the Court’s preliminary order and the United States’ intent to dispose

of the property in such manner as the Attorney General may direct, pursuant to 21

U.S.C. §§ 853(a)(1) and (2) and 21 U.S.C. § 853(n)(1), and to make its return to

this Court that such action has been completed.

       IT IS FURTHER ORDERED that upon adjudication of all third-party

interests, if any, the Court will enter a final order of forfeiture, and this Order is

hereby incorporated into any final judgments issued in this case, pursuant to

Federal Rule of Criminal Procedure 32.2(b)(4)(B).

       DATED this 3rd day of December, 2021.




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